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BART M. DAVIS, ID STATE BAR NO. 2696
UNITED STATES ATTORNEY
WILLIAM M HUMPHRIES, WA STATE BAR NO. 44452
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV
800 EAST PARK BOULEVARD, SUITE 600
BOISE, ID 83712-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1414
EMAIL: BILL.HUMPHRIES@USDOJ.GOV

Attorneys for Plaintiff United States of America

                              UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                   Case No.
                 Plaintiff,
                                                   COMPLAINT
        v.

 JEREMY BAUER (dba DRYSHEET
 FLEET),

                 Defendant.



    COMES NOW the United States of America, on behalf of the U.S. Department of Labor,

Occupational Safety and Health Administration (OSHA), through the undersigned counsel, and

as a cause of action against Defendant Jeremy Bauer (dba DrySheet Fleet) states:

       1.       This is a Complaint for collection of a debt under 31 U.S.C. § 3701, the Debt

Collection Improvement Act of 1996, and pursuant to 29 U.S.C. § 666(l).




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         2.      OSHA is, and at all times relevant to this action was, an agency of the United

States of America with the duty to enforce the provisions of the Occupational Safety and Health

Act of 1970, 29 U.S.C. § 651, et seq.

         3.      Jurisdiction arises under 28 U.S.C. §§ 1345 and 1355(a).

         4.      Jeremy Bauer (dba Drysheet Fleet) (“Defendant”) at all relevant times did

business in the District of Idaho. Defendant lives in Idaho. Venue is proper in the District of

Idaho.

Statutory Background for OSHA Violations and Citations

         5.      “[T]he Secretary shall . . . by rule promulgate as an occupational safety or health

standard any national consensus standard, and any established Federal standard . . . .” 29 U.S.C.

§ 655(a).

         6.      One such rule is in 29 C.F.R. § 1926.501(b)(13), which states “Residential

construction. Each employee engaged in residential construction activities 6 feet (1.8 m) or more

above lower levels shall be protected by guardrail systems, safety net system, or personal fall

arrest system unless another provision in paragraph (b) of this section provides for an alternative

fall protection measure.” 29 C.F.R. § 1926.501(b)(13).

         7.      “Any employer who willfully or repeatedly violates the requirements of section

654 of [Title 29], any standard, rule, or order promulgated pursuant to section 655 of [Title 29],

or regulations prescribed pursuant to [Chapter 15 of Title 29] may be assessed a civil penalty of

not more than $70,000 for each violation, but not less than $5,000 for each willful violation.” 29




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U.S.C. § 666(a). “The Commission shall have authority to assess all civil penalties provided in

this section . . . .” 1 29 U.S.C. § 666(j).

        8.       “Civil penalties owed under [Chapter 15 of Title 29] shall be paid to the Secretary

for deposit into the Treasury of the United States and shall accrue to the United States and may

be recovered in a civil action in the name of the United States brought in the United States

district court for the district where the violation is alleged to have occurred or where the

employer has its principal office.” 29 U.S.C. § 666(l).

        9.       OSHA is authorized to inspect workplaces and work sites. 29 U.S.C. § 657(a).

        If, upon inspection or investigation, [an OSHA representative] . . . believes that an
        employer has violated a requirement of section 654 of [Title 29], of any standard,
        rule or order promulgated pursuant to section 655 of [Title 29], or of any
        regulations prescribed pursuant to [Chapter 15], he shall with reasonable
        promptness issue a citation to the employer. Each citation shall be in writing and
        shall describe with particularity the nature of the violation, including a reference
        to the provision of the chapter, standard, rule, regulation, or order alleged to have
        been violated. In addition, the citation shall fix a reasonable time for the
        abatement of the violation.

29 U.S.C. § 658(a).

        10.      The relevant statutes go on to state that

        If, after an inspection or investigation, the Secretary issues a citation under section
        658(a) of this title, he shall, within a reasonable time after the termination of such
        inspection or investigation, notify the employer by certified mail of the penalty, if
        any, proposed to be assessed under section 666 of this title and that the employer
        has fifteen working days within which to notify the Secretary that he wishes to
        contest the citation or proposed assessment of penalty. If, within fifteen working
        days from the receipt of the notice issued by the Secretary the employer fails to
        notify the Secretary that he intends to contest the citation or proposed assessment
        of penalty, and no notice is filed by any employee or representative of employees
        under subsection (c) within such time, the citation and the assessment, as
        proposed, shall be deemed a final order of the Commission and not subject to
        review by any court or agency.


1
 “The term ‘Commission’ means the Occupational Safety and Health Review Commission . . . .”
29 U.S.C. § 652(2).
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29 U.S.C. § 659(a); see also 29 U.S.C. § 660(a) (“No objection that has not been urged before

the Commission shall be considered by the court . . . .”). “If an employer notifies the Secretary

that he intends to contest a citation . . . the Commission shall afford an opportunity for a

hearing.” 29 U.S.C. § 659(c).

Specific Facts in this Case

       11.      Defendant owes three delinquent debts to OSHA arising out of violations of the

Occupational Safety and Health Act of 1970 and corresponding regulations. The penalties were

made pursuant to 29 U.S.C. § 666.

       12.      The first debt arose out of employee and public safety violations of the

Occupational Safety and Health Act of 1970 (29 U.S.C. § 651, et seq.) and OSHA regulations at

29 C.F.R. § 1926.501(b)(13) during an inspection on or about May 14, 2013, of Defendant’s

work site in Boise, Idaho. The inspection number is 909747. A Citation and Notification of

Penalty, attached hereto as Exhibit A (“Citation 1”), was issued on June 5, 2013, and provided to

Defendant via certified mail. The violation (a repeat violation) is described on page six of eight

in Citation 1. As stated in Citation 1, the proposed penalty was $8,800. OSHA communicated

that payment was due promptly or interest and other charges would accrue. OSHA also informed

Defendant that he had fifteen days to contest Citation 1.

       13.      The second debt arose out of employee and public safety violations of the

Occupational Safety and Health Act of 1970 (29 U.S.C. § 651, et seq.) and OSHA regulations at

29 C.F.R. § 1926.501(b)(13) during an inspection on or about April 12, 2013, of Defendant’s

work site in Garden City, Idaho. The inspection number is 901793. A Citation and Notification

of Penalty, attached hereto as Exhibit B (“Citation 2”), was issued on June 5, 2013, and provided

to Defendant via certified mail. The violation (a repeat violation) is described on page six of

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eight in Citation 2. As stated in Citation 2, the proposed penalty was $11,000. OSHA

communicated that payment was due promptly or interest and other charges would accrue.

OSHA also informed Defendant that he had fifteen days to contest Citation 2.

       14.      The third debt arose out of employee and public safety violations of the

Occupational Safety and Health Act of 1970 (29 U.S.C. § 651, et seq.) and OSHA regulations,

including 29 C.F.R. §§ 1926.501(b)(13), during an inspection on or about April 11, 2014, of

Defendant’s work site in Eagle, Idaho. The inspection number is 967452. A Citation and

Notification of Penalty, attached hereto as Exhibit C (“Citation 3”), was issued on June 24, 2014,

and provided to Defendant via certified mail. The violations (a repeat violation and an “other-

than-serious” violation) are described on pages six and eight of ten in Citation 3. As stated in

Citation 3, the proposed penalties equal $15,840 for the violations. OSHA communicated that

payment was due promptly or interest and other charges would accrue. OSHA also informed

Defendant that he had fifteen days to contest Citation 3.

       15.      Defendant challenged Citation 1 and Citation 2 as noted in Defendants concise

challenge to those citations, which is attached as Exhibit D.

       16.      Defendant never contested Citation 3.

       17.      Defendant and OSHA entered into a Settlement Agreement, attached as Exhibit E,

regarding Citations 1 and 2. Defendant agreed to pay a total of $10,000 related to the two

citations, with payments scheduled for $1,000 per month starting the month after the settlement

was approved by the Occupational Safety and Health Review Commission (“Commission”). As

part of the settlement, Defendant withdrew his notice to contest Citations 1 and 2. Pursuant to

the Settlement Agreement, if Defendant was more than thirty days late on a payment, the entire

original penalty amount (i.e., $19,800) would be reinstated and be due and payable immediately.

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       18.      The Commission approved the Settlement Agreement on May 6, 2014, as

evidenced by the attached order at Exhibit F.

       19.      Under the Settlement Agreement, the first $1,000 monthly payment from

Defendant was due in June 2014. Defendant never made a payment and went into default in July

2014. Thus, the entire original amount of the penalty, $19,800 became due and payable

immediately and interest began accruing.

       20.      OSHA sent a demand and delinquency letter on or about August 21, 2014, to

Defendant informing him that payment for the penalties set forth in Citation 3 were delinquent.

The letter is attached as Exhibit G. The letter set forth the interest, penalties, and other charges

that would begin to accrue. The amount due at the time was $15,863.20. OSHA later referred

the debt to the Department of Treasury, Bureau of Fiscal Service.

       21.      OSHA sent demand letters to Defendant in October 2016 informing him of the

delinquency related to Citation 1 and Citation 2. The debt related to Citation 1 at the time of the

letter was $10,254.67, and the debt for Citation 2 at the time of the letter was $12,815.83. The

letters are attached as Exhibit H. OSHA later referred the debt to the Department of Treasury,

Bureau of Fiscal Service.

       22.      The Department of the Treasury sent a letter to Defendant in March 2015 relating

to Citation 3 demanding immediate payment of the debt. The amount due for Citation 3 was

$20,912.93. The letter is attached as Exhibit I. The Department of Treasury then sent letters to

Defendant in February 2017 demanding immediate payment of the debt for Citation 1 and

Citation 2. The letters are attached as Exhibit J. The amount due for Citation 1 was $13,613.20

and the amount due for Citation 2 was $17,009.09. The Department of Treasury referred all the




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debts to collection agencies before referring the debt to the U.S. Department of Justice for

litigation.

        23.      The U.S. Department of Justice sent Defendant demand letters in December 2017

related to the three debts set forth above.

        24.      Defendant did not respond to any of the letters.

        25.      Defendant has made no payments.

        26.      Pursuant to 29 U.S.C. § 659(a), because Defendant never contested Citation 3, it

is a final order unreviewable by the Court. In addition, because Defendant withdrew his contest

to Citations 1 and 2, they are unreviewable by the Court.

        27.      Moreover, pursuant to paragraph 2 of the Settlement Agreement, failure to make

payments restores the penalties related to Citations 1 and 2 to the original amounts.

        28.      As described in all the citations and various letters referred to herein, and pursuant

to 31 U.S.C. § 3717(a) and (e) and § 3711(g)(6), 1% interest is charged from 30 days after the

due date and 6% annual interest is charged as a penalty starting 90 days after the payment due

date. Collection costs are recoverable pursuant to the same statutes.

        29.      The total amount due on the three debts as of April 6, 2018, was $60,962.65.

                 a.     The amount due on the debt related to Citation 1 as of April 6, 2018, was

$15,180.26. The Certificate of Indebtedness attached as Exhibit K explains how this amount is

derived. Interest (combining the 1% and 6% interest) accrues at $1.69 on a per diem bases.

                 b.     The amount due on the debt related to Citation 2 as of April 6, 2018, was

$18,968.53. The Certificate of Indebtedness attached as Exhibit L explains how this amount is

derived. Interest (combining the 1% and 6% interest) accrues at $2.10 on a per diem bases.




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               c.      The amount due on the debt related to Citation 3 as of April 6, 2018, was

$26,813.86. The Certificate of Indebtedness attached as Exhibit M explains how this amount is

derived. Interest (combining the 1% and 6% interest) accrues at $2.95 on a per diem bases.

Prayer for Relief

       WHEREFORE, Plaintiff prays for Judgment in the amount of $60,962.65 plus the per

diem interest described herein from April 6, 2018, through the date of the judgment and any

other costs allowed by statute.

       Respectfully submitted this 15th day of May, 2018.

                                                  BART M. DAVIS
                                                  UNITED STATES ATTORNEY
                                                  By:


                                                 /s/ William M. Humphries
                                                  WILLIAM M HUMPHRIES
                                                  ASSISTANT UNITED STATES ATTORNEY




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